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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :      CRIMINAL NO. 21-cr-670
               v.                                :
                                                 :
STEPHEN K. BANNON,                               :
                                                 :
                                                 :
               Defendant.                        :

                         MOTION FOR PROTECTIVE ORDER
                     AND TO DISCLOSE GRAND JURY TESTIMONY

        To expedite discovery, which the government is prepared to produce as soon as a protective

order is in place, the United States of America hereby respectfully moves the Court for the entry

of a protective order governing the production of discovery by the parties in the above-captioned

case.   The United States reached out to counsel for the defendant on Monday, November 15, 2021,

for the defendant’s position with respect to the proposed protective order.         Counsel for the

defendant was still considering the proposed order as of the time of this filing.

        In addition, the United States respectfully moves for entry by this Court of an order

permitting the disclosure of testimony before the grand jury that returned the instant indictment

and related exhibits insofar as such disclosure is necessary for the government to comply with its

discovery obligations. Under Federal Rule of Criminal Procedure 6(e)(3)(E)(i), “[t]he court may

authorize disclosure—at a time, in a manner, and subject to any other conditions that it directs—

of a grand-jury matter: (i) preliminarily to or in connection with a judicial proceeding.” Rule

6(e)(3)(F) provides certain requirements for a petition under Rule 6(e)(3)(E)(i), including that the

petition be filed in the district where the grand jury convened and that the court “must afford a



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reasonable opportunity to appear and be heard to: (i) an attorney for the government; (ii) the parties

to the judicial proceeding; and (iii) any other person whom the court may designate.” The

government submits that the requirements of Rule 6(e)(3)(F) are satisfied by submission and

resolution of this motion. The government further submits that such an order is appropriate

because grand jury testimony in this case constitutes material to which the defendant is entitled as

part of his discovery.

       Accordingly, the government respectfully requests an order entering the attached protective

order and authorizing the disclosure of grand jury testimony to the defendant and his counsel. See

Rule 6(e)(3)(E)(i).

                                               Respectfully submitted,


                                               MATTHEW M. GRAVES
                                               United States Attorney
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